Case 1:21-cv-00081-SEB-MJD Document 102 Filed 05/27/21 Page 1 of 3 PageID #: 6322




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ELI LILLY AND COMPANY, et al.                       )
                                                      )
                               Plaintiffs,            )
                                                      )
                          v.                          )      No. 1:21-cv-00081-SEB-MJD
                                                      )
  ALEX M. AZAR, II in his official capacity as        )
  Secretary of Health & Human Services, et al.        )
                                                      )
                               Defendants.            )

                           The Honorable Sarah Evans Barker, Judge
                                   Entry for May 27, 2021


         On this date, Plaintiffs appeared by counsel, John O'Quinn and Brian Paul. Defendants

  appeared by Kate Talmor for a hearing on Plaintiffs' Motion for Temporary Restraining Order

  [Dkt. 94]. Court Reporter, Laura Howie-Walters, reported the proceedings.


     •   Plaintiffs' counsel presented his oral arguments.

     •   Defendants' counsel presented her oral arguments.


     •   The Court granted Defendants' Unopposed Motion for An Extension of Time to File and
         to Combine Briefing [Dkt. 101] in open court.

     •   The Court denies Plaintiffs' Motion for Temporary Restraining Order but extends the
         deadline for Plaintiffs' to respond to the May 17, 2021 letter until June 10, 2021.

     •   Court is adjourned.
Case 1:21-cv-00081-SEB-MJD Document 102 Filed 05/27/21 Page 2 of 3 PageID #: 6323




  Distribution:

  AMERICA'S ESSENTIAL HOSPITALS

  Nicholas Blake Alford
  FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
  Nicholas.Alford@faegredrinker.com

  Ronald S. Connelly
  POWERS PYLES SUTTER & VERVILLE, P.C.
  ron.connelly@powerslaw.com

  Kathryn Elias Cordell
  KATZ KORIN CUNNINGHAM, P.C.
  kcordell@kkclegal.com

  Andrew A. Kassof
  KIRKLAND & ELLIS LLP - Chicago
  akassof@kirkland.com

  Alice McKenzie Morical
  HOOVER HULL TURNER LLP
  amorical@hooverhullturner.com

  John C. O'Quinn
  KIRKLAND & ELLIS LLP
  john.oquinn@kirkland.com

  Matthew S. Owen
  KIRKLAND & ELLIS LLP
  matt.owen@kirkland.com

  Brian J. Paul
  FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
  brian.paul@faegredrinker.com

  Andrea Roberts Pierson
  FAEGRE DRINKER BIDDLE & REATH LLP (Indianapolis)
  andrea.pierson@faegredrinker.com

  Matthew D. Rowen
  KIRKLAND & ELLIS LLP
  matthew.rowen@kirkland.com

  Kate Talmor
  U.S. DEPARTMENT OF JUSTICE (Washington DC)
Case 1:21-cv-00081-SEB-MJD Document 102 Filed 05/27/21 Page 3 of 3 PageID #: 6324




  kate.talmor@usdoj.gov

  Christopher D. Wagner
  HOOVER HULL TURNER LLP
  cwagner@hooverhullturner.com

  Diana M. Watral
  KIRKLAND & ELLIS LLP - Chicago
  diana.watral@kirkland.com
